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                      UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

RICHARD LOWERY,

     Plaintiff,

v.

LILLIAN MILLS, et al.,                        Case No. 1:23-cv-00129-DAE

     Defendants.




                  PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANTS’
                     MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                   INTRODUCTION
   The University of Texas’s (UT’s) goal is to protect its “Chain of Command”—and

especially the top of the chain, President Jay Hartzell—from the consequences of

UT officials’ active measures to silence Richard Lowery’s public speech criticizing

both Hartzell and UT. To that end, UT has for months hampered Lowery’s ability to

obtain basic evidence about his case, all the while obtaining what its officials

wanted: Lowery’s silence about what is really happening on campus. Every month

that this case drags on magnifies the harm to Lowery.

   UT’s latest stratagem uses a discovery abatement—agreed to in order to give

time for this Court to resolve a motion to dismiss—to pursue summary judgment on

Lowery’s chilled-speech claim. Evidently, UT hopes that it can keep President

Hartzell from ever sitting for his deposition. Summary judgment is premature, since

Lowery has not yet had the opportunity to complete important discovery.

   Moreover, even were this case ready for resolution, UT is not entitled to

summary judgment. Through the discovery to date, Lowery has gathered significant

evidence that would permit a factfinder to rule for him. Genuine disputes of

material fact exist on issues such as Hartzell’s involvement, Defendants’ motive,

and the threats that Defendants made to pressure Lowery into silence. Moreover,

UT insists that it could not only threaten Lowery, but actually remove him from his

Salem Center position, harm his career advancement by denying him research

opportunities, “counsel” him in preparation for other discipline, and cut his salary

by $20,000, based on his speech.

   UT officials behave as if they are brand managers for a private corporation who

are permitted to instruct employees to avoid “offensive” or “uncivil” speech; or avoid

airing dirty laundry that makes the CEO uncomfortable. But they are state officials

who are constrained by the First Amendment. It may be understandable that they

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would seek to chill Lowery into silence, but that is also why their efforts are illegal.

The First Amendment protects Lowery’s whistleblowing speech precisely because

UT officials do not want his opinions to see the light of day.

   This Court should deny UT’s motion for partial summary judgment or, at least,

defer ruling on this motion until discovery in the case is complete.

                                 STATEMENT OF FACTS
   Plaintiff Richard Lowery, a professor at UT’s McCombs School of Business and

Senior Scholar at McCombs’ Salem Center for Policy, has a history of speaking and

publishing on controversial public topics such as DEI (diversity, equity, and

inclusion), affirmative action, academic freedom, and free market capitalism. Dkt.

8-1, ¶¶ 1-15.1 Lowery dissents from the political and academic views held by most

UT faculty and administrators, and he has publicly criticized UT President Jay

Hartzell and other university leaders for their support of DEI ideology. See id., ¶¶

9-11; Dkt. 77-1, ¶¶ 12-14. Lowery has made his positions known to university

donors and to elected officials in Texas, including those who oversee UT’s funding.

Dkt. 8-1, ¶¶ 10, 31-34; Dkt. 17-1, ¶¶ 8-14.

   In 2021, Lowery and his friend Carlos Carvalho, the Executive Director of the

Salem Center, worked to create “The Liberty Institute,” a proposed institute at UT-

Austin dedicated to increasing intellectual diversity and promoting classical

liberalism. Id., ¶¶ 17-20; Dkt. 8-2, ¶ 4. Hartzell and other UT officials eventually

took control of the Liberty Institute, redirected its funding, and established “The

Civitas Institute,” with a very different vision, instead. Dkt. 8-1, ¶ 21; Dkt. 8-2, ¶ 5;

see also Ex. A (Titman Dep.) 47:9-49:21 (former defendant Sheridan Titman




1 Plaintiff has included a timeline of events as an illustrative exhibit to this motion.

Kolde Dec. ¶ 25, Ex. P (timeline).
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testifying that “there’s been a change” as the Civitas Institute lacks the “clear

vision” that Carvalho and Lowery developed for the Liberty Institute.)

   Lowery responded to these events by speaking and publishing articles criticizing

Hartzell, other UT administrators, and the new Civitas Institute. Dkt. 8-1, ¶¶ 22-

25; Dkt. 8-2, ¶ 5. For instance, in July 2022, Lowery gave a podcast interview in

which he discussed the Liberty Institute fiasco and opined that Jay Hartzell was

good at lying to Republicans. Dkt. 62-6 at 22-26, 60; Dkt. 8-1, ¶¶ 26-27; cf. Ex. A at

112:16-20 (Titman agreeing that because Hartzell is “a president of the university

in a red state,” “[i]t certainly helps to be able to . . . bullshit the Republicans”).

   Beginning in the summer of 2022, UT officials threatened and pressured Lowery

to keep him from publicly criticizing the university and its leaders. See Dkt. 8-1, ¶¶

43, 46, 60. For example, Titman—the chair of Lowery’s department and formerly an

official-capacity defendant—testified that on July 19, the day after Lowery’s podcast

interview, Jay Hartzell spoke with Titman at a reception celebrating the hiring of

Justin Dyer as Executive Director for the new Civitas Institute. Ex. A at 99:16-

100:13. Hartzell was “annoyed” with Lowery, “grumble[d] [to Titman] about

something that Richard said,” and “mention[ed] that Richard was being a pain.” Id.

at 100:11-102:14, 113:2-14.

   A week or two later, in late July, Titman told Carvalho on the phone that “Jay

[Hartzell] and Lil [Mills] want us to do something about Richard” because they

“were upset about Lowery’s political advocacy” and wanted Titman and Carvalho to

“ask [Lowery] to tone it down.” Ex. B (Carvalho Dep.) 151:10-152:24. Carvalho has

the power to terminate Lowery’s position at the Salem Center, thus costing Lowery

$20,000 in salary as well as prestige and research opportunities. Dkt. 8-1, ¶¶ 5-7,

61-62. But Carvalho “refused to do anything” about Lowery, although he understood

Titman’s statement to be “an implicit threat.” Dkt. 8-2, ¶ 6.

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   Approximately a month later, Titman told Lowery that Hartzell “was not happy

with what [Lowery] had been saying” and had asked Titman “if something could be

done about [Lowery’s] public statements criticizing Hartzell.” Dkt. 17-1, ¶¶ 2-5.

Titman does not dispute that this conversation occurred. Ex. A at 104:14-105:18.

Lowery interpreted it as a “suggestion” from Titman that Lowery “stop tweeting”

because of “pressure from Hartzell, Mills, Kothare, or others.” Dkt. 17-1, ¶ 5.

   On the morning of August 5, Jay Hartzell initiated a series of texts with

Defendants Lillian Mills and Ethan Burris, and two other UT leaders about

negative “media coverage of [the] new [Civitas] institute” that Lowery had

“induced.” Dkt. 119-1 at 4-5; Dkt. 61-2, ¶ 5. That night, Burris watched portions of

Lowery’s July 18 podcast interview, including the part about Hartzell being “good at

lying to Republicans.” Ex. C (Burris Dep.) 61:16-62:21, 70:4-71:4. Burris “disagreed

with some of the tenor” of the podcast concerning “criticisms about the university

and diversity, equity and inclusion policies” and “had to stop watching” after “five

[or] six minutes.” Id. at 62:15-63:10. Around this time, Mills also had several phone

calls with Justin Dyer, the Civitas director, regarding statements Lowery made

about Civitas on the Hanania podcast and elsewhere. Dkt. 132-6 at 9.

   Four days later, Jeff Graves, a high-level executive in the President Hartzell’s

Office, forwarded to Mills and Burris an anonymous complaint asking UT to

investigate if Lowery’s podcast interview violated UT’s “standards of ethics and

respect for faculty.” Kolde Dec. ¶ 14, Ex. E (Graves email). Graves stated that he

sent the complaint to the two deans for their “review and handling” as a “personnel

matter” about “whether Professor Richard Lowery crossed any lines regarding

ethics or compliance” and that “Legal will provide advice.” Id. Graves’s email did

not indicate that no action should be taken or that Lowery’s conduct was fine. Id.



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   Mills met with UT Legal about Graves’ email sometime between the day Graves

sent his email and August 12, the day she and Burris met with Carvalho. Ex. D

(Mills Dep.) 151:6-152:25; cf. Dkt. 119-1 at 7, 9-10 (listing three emails regarding

Lowery and “First Amendment issues” between Mills and UT’s General Council on

August 11 and 12). Also, between August 9 and August 12, Mills, Burris, and

Titman repeatedly communicated with each other about Lowery’s speech and an

upcoming meeting with Carvalho. See, e.g., Dkt. 132-6 at 5; Ex. D at 134:11-135:9;

Ex. A at 63:1-25.

   One week after Hartzell texted Mills and Burris (August 12) and three days

after a high-ranking official (Graves) from Hartzell’s office emailed the anonymous

complaint to them for handling, Mills and Burris met with Carvalho with the

admitted “goal” of getting Carvalho to “counsel” Lowery to “stop making comments

that are factually inaccurate and disruptive to operations” such as “asking people

not to donate to UT” or opining that “the president is paid to be good at lying to

conservative donors and politicians[.]” Ex. C at 154:12-155:5, 156:22-157:17; Ex. D

at 199:4-14, 210:22-211:11. Mills highlighted statements from the July 18 podcast

interview, an August 5 article, and various “public tweets” as examples of comments

that Lowery should stop making. Kolde Dec. ¶ 15, Ex. F (meeting notes) at 1-2.

Mills was “offended” by Lowery’s speech, which she found “inappropriate.” Ex. D at

87:6-14, 166:20-22, 171:4-14, 208:14-209:20.

   During the August 12 meeting, Mills and Burris echoed language from Graves’s

email instructing them to follow-up, saying that Lowery’s criticisms were “crossing

the line.” Dkt. 8-2, ¶ 7. They also pointed out that Carvalho, as Executive Director

of the Salem Center, had “the power to have [Lowery] not be attached to the center.”

Carvalho. Ex. B at 192:4-193:6; Dkt. 8-2, ¶¶ 7-8. When Carvalho resisted their

pressure, Dean Mills “stressed” that Salem’s “directors served at the pleasure of the

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dean” and that money donated to Salem—regardless of who raised it—belonged to

McCombs. Ex. F at 1; Ex. D at 189:15-190:8. 2 Carvalho understood this as a threat

to end Lowery’s affiliation with the Salem Center or even to remove Carvalho as

Executive Director if he did not pressure Lowery into changing his speech. Ex. B at

159:8-162:10, 163:16-164:20; Dkt. 8-2, ¶¶ 8, 10. Carvalho later recorded his memory

of this conversation and the “threat” Mills made when he “rejected her request . . .

to silen[ce] my colleague.” Kolde Dec. ¶ 16, Ex. G (Carvalho notes).

   Two weeks later (August 26), at a follow-up meeting between Burris and

Carvalho, Burris complained that Lowery’s “uncivil rhetoric in communications”

and the “uncivil tone of [his] tweets” were “damaging to the school” and harmful to

“staff and other faculty who are not tenured.” Kolde Dec. ¶ 17, Ex. H (meeting

notes); see also Dkt. 8-2, ¶ 9. Burris cited tweets critical of UT’s Global

Sustainability Leadership Institute (GSLI) as key examples. Ex. C at 190:8-191:16,

194:7-16. These tweets were the same ones that, a few days earlier, two leftwing

GSLI faculty members—Meeta Kothare and Laura Starks—complained about to

Titman and Mills. Dkt. See 8-16; Dkt. 8-17; Kolde Dec. ¶ 18, Ex. I (Starks email).

   And at a third meeting, on or around October 17, Burris again threatened

Lowery’s Salem Center position, stating that, although Burris had just renewed

Lowery’s annual appointment, he might not renew it in the future because of

Lowery’s speech. Ex. B at 207:17-208:24; Dkt. 8-2, ¶ 9; see also Dkt. 132-4

(September 19, 2022 renewal letter). Carvalho refused to try to change Lowery’s

speech, but he relayed these conversations with Mills, Burris, and Titman to




2 Although Richard Lowery’s title at the Salem Center is “Senior Scholar,” UT’s

system codes him as a “director” for salary purposes. See Ex. B. at 171:14-172:12.
Mills admits to using both titles when referring to Lowery. Ex. D at 196:19-24,
200:9-11, 210:6-11. Plaintiff disputes that he ever spoke as a UT administrator.
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Lowery, as Defendants “requested and [] must have expected.” Dkt. 8-2, ¶ 11; see

also Dkt. 8-1, ¶¶ 43-45.

   On August 22—a few days before the second of the three Carvalho meetings—

Lowery posted on his Twitter account a tweet criticizing an event hosted by GSLI

for its lack of viewpoint diversity. Id., ¶¶ 41-42. This tweet (referred to as the

“Romanov tweet”) was used by Defendants as one basis to counsel Lowery about his

speech. Some suggested his tweet was “unsafe” or “offensive.” Dkt. 8-17 (Starks: “…

this is not acceptable and is potentially quite dangerous”) (Kothare: “These tweets

are typically incoherent, but clearly offensive”).

   Lowery’s twitter criticism contrasted Salem’s willingness to invite people who

disagree with free market principles to debate (in this case, a communist), while

GSLI invites only like-minded speakers who support ESG or “sustainability.”

Specifically, Lowery’s tweet alluded to an obscenity as a means of emphasis

(“f***ing”) and mentioned the Communists’ 1918 murder of the Romanovs—the

imperial house of Russia—during the Russian Revolution. Dkt. 8-14; Dkt. 17-1 at 7-

8 (¶¶ 24-26) (citing ORTHODOX CHRISTIANITY, “Killing little Romanov children was

justified,” says founder of Democratic Socialist Magazine (Oct. 5, 2020),

https://orthochristian.com/134391.html). For historical context, the Communists

had seized power and proceeded to liquidate the Russian imperial family (including

children) to ensure they could never return to power. Id. (quoting Jacobin

founder/Salem panelist’s tweet: “History has absolved me. No more tsars.”).

   Properly read, Lowery’s tweet pointed out the hypocrisy of people who condemn

the Salem Center as too right-leaning (even though the Salem Center invites

socialists to speak, even ones who condone child murder) while never demanding

leftwing groups on campus seek ideological balance. Ex. B at 213:1-214:14; Dkt. 17-

1, ¶¶ 23-28. But some UT faculty and administrators interpreted the tweet as rude,

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unacceptable, and potentially dangerous. Ex. A at 136:4-137:15, 145:18-146:9; Dkt.

8-17.

   In addition to complaining to Titman and Mills about Lowery’s tweets, GSLI

officials arranged for UT police to open a “threat mitigation investigation” into

Lowery. See Dkt. 8-19; Kolde Dec. ¶ 19, Ex. J (email on police investigation).

Although Mills was aware of the controversy around the tweet, she does not

remember taking steps to protect Lowery’s speech rights and thinks GSLI’s request

to UT police about Lowery was “appropriate.” Ex. D at 82:10-23, 88:18-89:21.

Indeed, concurring with Kothare’s view, Dean Mills also found Lowery’s Romanov

tweet “incoherent, but clearly offensive” and worried that it could affect “the UT

brand.” Ex. D at 87:6-14, 93:2-23.

   Similarly, around this same time, Titman forwarded to Lowery an email from

the same GSLI faculty complaining about the tweet and told Lowery “You don’t

seem to be making friends. It is probably in your interest to come up with a class for

the Spring that is likely to be popular” and that he should limit himself to “the

appropriate response” of sponsoring academic panels, rather than tweeting, in the

future. Dkt. 8-18; Dkt. 8-1, ¶¶ 46-47. Although Titman “didn’t read the tweet very

carefully,” he reached out to Lowery because Titman “do[es]n’t think it’s good to

have faculty sending out tweets talking about fucking communists and killing

children” and tweeting “to 10,000 people . . . isn’t the way that we should be having

intellectual discourse.” Ex. A at 147:5-24. According to Titman, this conversation

with Lowery was part of his duty as chair “to evaluate somebody . . . on my faculty”

as Titman is “in charge of . . . making suggestions on what they are doing.” Ex. A at

212:19-213:22.

   Lowery understood Titman to be warning him to stop tweeting lest Mills or

Burris cut Lowery’s pay or otherwise discipline him. See Dkt. 17-1, ¶¶ 4-7; Dkt. 8-1,

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¶¶ 46-50. Because of this pressure from UT administrators and faculty, Lowery

began to self-censor in late August 2022, eventually stopping his tweets all together

and no longer writing or speaking in public on UT issues. Dkt. 8-1, ¶¶ 58-60, 63-67;

Dkt. 17-1, ¶¶ 20-22; Dkt. 64-2, ¶¶ 16-17. It was only after Lowery began self-

censoring in late August that Burris renewed his Salem Center appointment, see

Dkt. 132-4, and that Lowery’s annual pay raise was approved, see Dkt. 132-9.

   Lowery brought this lawsuit in defense of his First Amendment rights on

February 8, 2023. See Dkt. 1. Discovery is not yet complete. See, e.g., Dkt. 122; Dkt.

121 at 1-2. In March 2024, this Court granted Lowery leave to amend his complaint.

See Dkt. 123; Dkt. 120 at 5-7. Although the amendment primarily joined Hartzell as

a defendant and added a second speech-code claim, it also revised Lowery’s chilled-

speech claim. Compare Dkt. 126, ¶¶ 99-115 with Dkt. 94-4 at 27-30. At the time of

this amendment, discovery was—and remains—paused during the resolution of a

motion to dismiss. Dkt. 122. As a result, Lowery never had the opportunity to

conduct discovery about some of the new allegations in his amended complaint.

                                     ARGUMENT

   I.     BASIC DISCOVERY INTO THE CHILLED-SPEECH CLAIM IS INCOMPLETE
   This Court should deny Defendants’ motion as premature, because discovery is

incomplete and at least two major depositions—of defendant Jay Hartzell and of

UT’s 30(b)(6) representative—have not yet occurred. In addition, Lowery plans to

depose Meeta Kothare, the GLSI administrator who denounced Lowery’s tweets to

Mills and Titman, and may seek follow-up documentary discovery.

   This Court held that Lowery’s complaint stated a chilled-speech claim. Dkt. 51

at 16-18, 25-26. To prove chilled speech, Lowery must show that “(1) [he was]

engaged in constitutionally protected activity, (2) the defendants’ actions caused

[him] to suffer an injury that would chill a person of ordinary firmness from

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continuing to engage in that activity, and (3) the defendants’ adverse actions were

substantially motivated against the plaintiff[’s] exercise of constitutionally

protected conduct.” Id. at 25 (quoting Keenan v. Tejeda, 290 F.3d 252, 258 (5th C.

2002)). UT claims that Lowery cannot supply evidence demonstrating the second or

third elements of this test. See Dkt. 131 at 6-7.

   Summary judgment is inappropriate until “the plaintiff has had a full

opportunity to conduct discovery.” Bailey v. KS Mgmt. Servs., L.L.C., 35 F.4th 397,

401 (5th Cir. 2022) (citation and internal quotation marks omitted). “[W]hen basic

discovery has not been completed, particularly when the moving party has exclusive

access to the evidence necessary to support the nonmoving party’s claims,”

summary judgment must be refused as “premature and improper.” Austin Legal

Video, LLC v. Deposition Sols., LLC, No. 1:23-cv-00421-DAE, 2023 U.S. Dist. LEXIS

232404, at *6 (W.D. Tex. Nov. 16, 2023) (citations omitted).

   Lowery has sought to depose Hartzell since the start of this lawsuit, although

UT systematically opposed this deposition. See Dkt. 16; Dkt. 19 at 6, 10-11. On

March 26, this Court granted Lowery leave to amend and to add Hartzell as a

defendant. Dkt. 123. The amended complaint and its revised chilled-speech claim

both contain many allegations about Hartzell’s role in the campaign to silence

Lowery’s speech. See, e.g., Dkt. 126, ¶¶ 4, 10, 17-19, 27, 44-50, 66-67, 100, 106-07,

112-14.

   Plaintiff, however, never had the opportunity to depose Hartzell about his role in

the chilling of Lowery’s speech. When counsel for the parties conferred on March 11,

UT’s counsel stated that Hartzell would agree to sit for a deposition if this Court

denied its (then not-yet-filed) motion to dismiss but would oppose any deposition

prior to resolution of this motion. Kolde Dec. ¶ 2. The parties also agreed to

schedule at least two other depositions—of Lowery himself and of UT’s 30(b)(6)

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representative—sometime after the motion to dismiss was decided—but did not

discuss seeking an early summary judgment. Id., ¶¶ 2, 4.

   The parties filed a joint motion to abate discovery, Dkt. 121, and discovery has

been paused since mid-March, see Dkt. 122. Since then, Plaintiff has not requested

additional documents, submitted interrogatories, or scheduled new depositions, nor

could he. Lowery agreed to this abatement to give time for this Court to resolve

UT’s motion to dismiss, see Dkt. 121, but it appears that UT sought the abatement

to attempt to prevent President Hartzell from ever being deposed.

   Summary judgment is premature and improper, until Lowery has had the

opportunity to gather evidence necessary to support his chilled-speech claim by

deposing Hartzell, Kothare, and UT’s 30(b)(6) representative and by seeking other

documentary discovery related to these depositions.

   II.     UT THREATENED ACTIONS AGAINST LOWERY THAT WOULD CHILL A PERSON OF
           ORDINARY FIRMNESS FROM SPEAKING

           A. Lowery has already provided evidence demonstrating all three
              elements of the Keenan test
   Even were discovery complete, this Court should deny UT’s motion, because

Lowery already possesses abundant evidence that supports a reasonable factfinder

ruling for him about all elements of his chilled-speech claim. Cf. Dkt. 51 at 25. UT

cannot meet its high burden of showing that it is entitled to summary judgment.

   UT does not even attempt to show that Lowery’s speech was not constitutionally

protected. See Dkt. 132 (never mentioning the first element); Dkt. 131 at 6-7

(similar). Defendants complain about Lowery’s speech on matters of public concern.

At the August 12 meeting, for instance, Mills objected to Lowery’s podcast

interview, an August 5 article, and “public tweets” criticizing GSLI and

discouraging university donations. Ex. F at 1-2; Ex. D at 199:4-14, 208:14-209:20.


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Likewise, Burris and Titman both highlighted Lowery’s tweets about GSLI. Ex. H;

Ex. C at 190:8-191:16, 194:7-16; Dkt. 8-1, ¶¶ 46-47. The interview, article, and

tweets all discuss controversial public topics such as DEI, critical race theory,

climate change, the funding and organization of public universities, and freedom of

speech. See, e.g., Dkt. 62-6 (interview); Kolde Dec. ¶ 20, Ex. K (August 5 article).

    In commenting on these public matters, Lowery was exercising his right to

speak, both as an American and as a UT faculty member with academic freedom.

Dkt. 8-1, ¶¶ 68, 73; Dkt. 17-1, ¶¶ 20-22; cf. Keith E. Whittington, What Can

Professors Say on Campus? Intramural Speech and the First Amendment 23-25

(August 2, 2023) (forthcoming Journal of Free Speech Law) (available at

https://ssrn.com/abstract=4551168). UT’s own rules state that “[w]hen the faculty

member speaks or writes as a citizen, he or she should be free from institutional

censorship or discipline[.]” Dkt. 14-7 (UT Regents’ Rule 31004(3); cf. Kolde Dec. ¶

21, Ex. L (compilation of tweets by UT faculty stating provocative opinions

regarding UT and Texas politics); Kolde Dec. ¶ 22, Ex. M (UT admission that

leftwing faculty was not disciplined for these provocative opinions).

   Kelly Kamm, Meeta Kothare, Laura Starks, and other faculty who disapprove of

Lowery’s speech have a right to voice their personal opinions about Lowery’s speech.

But UT’s administration cannot seize on their complaints as a pretext to justify

silencing Lowery and selectively enforcing its “civility” policies against him. Both

the close temporal proximity and Defendants’ repeated reference to these

complaints while threatening Lowery indicate that Defendants did exactly this. Cf.

Lyons v. Katy Indep. Sch. Dist., 964 F.3d 298, 305 (5th Cir. 2020) (“a six-and-a-half-

week timeframe is sufficiently close,” even without other evidence, to establish

causal connection).



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   As for the third element—the motive for UT’s adverse actions—Lowery has

demonstrated that Defendants were upset and offended by his speech, see, e.g., Ex.

A at 100:11-102:14, 113:2-14, 212:19-213:22; Ex. D at 87:6-14, 166:20-22; that

Hartzell asked UT officials below him to silence Lowery, see, e.g., Ex. B (Carvalho

Dep.) 151:10-152:24; Dkt. 17-1, ¶¶ 2-5; Dkt. 119-1 at 4-5; and that Burris only

renewed Lowery’s Salem appointment once he began self-censoring, see, e.g., Dkt.

132-4; Ex. B at 207:17-208:24.

   Mills and Burris have openly admitted that their motive for meeting with

Carvalho was to convince Carvalho to “counsel” Lowery so that Lowery would “stop

making comments that are factually inaccurate and disruptive to operations.” Ex. C

at 154:12-155:5, 156:22-157:17; Ex. D at 199:4-14, 210:22-211:11.

      Q. Stated another way, your goal in asking Carvalho to counsel Lowery
      regarding making comments that taxpayer money was stolen by
      grifters or the president is to be paid to be good at lying to conservative
      donors and politicians was to get Lowery to stop making those kinds of
      comments, correct?

      A. Yes.

Ex. C (157:3-9); Ex. D (210:22-211:11).
   Thus, Mills and Burris have admitted that their goal was to chill Lowery—to get

him to speak differently or not at all. While Carvalho refused to “counsel” Lowery,

he passed on their message as a warning to his friend, Dkt. 8-2, ¶¶ 8-11, who got

the message and began self-censoring, Dkt. 8-1, ¶¶ 43-49, 58-60. Mills and Burris

obtained the result that they (and likely Hartzell) had sought: Lowery’s silence

about Hartzell and UT’s ideological direction, including speaking about those topics

in a way they deemed was too provocative, “uncivil” or “offensive.”

   It is telling that Defendants seem to suffer from the misconception that state

actors are entitled to restrict speech that is “offensive,” “uncivil” or hurts UT’s

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brand. The First Amendment, however, contains neither a civility clause, nor a

brand-protection clause. Offensive speech is legally protected speech. See, e.g., Iancu

v. Brunetti, 139 S. Ct. 2294, 2299 (2019) (The bar thus violated the ‘bedrock First

Amendment principle’ that the government cannot discriminate against ‘ideas that

offend’”); Matal v. Tam, 582 U.S. 218, 243-44 (2017) (plurality) (“Giving offense is a

viewpoint.”); Cohen v. California, 403 U.S. 15, 25 (1971) (wearing “Fuck the draft”

on jacket in courthouse was protected speech); Am. Freedom Def. Initiative v. King

County, 904 F.3d 1126, 1131 (9th Cir. 2018) (“Giving offense is a viewpoint”).

Indeed, for over half a century, even the F-word is legally protected speech, when

used as a means of emphasis to express a political idea. Cohen, 403 U.S. 15, 25-26

(“… much linguistic expression serves a dual communicative function: it conveys not

only ideas capable of relatively precise, detached explication, but otherwise

inexpressible emotions as well”).3 And this bedrock principle is sensible, because

otherwise government officials would subjectively categorize a lot of speech they

dislike as “offensive.” The First Amendment is designed to protect citizens’ right to

criticize government officials, even in ways some might consider jarring,

unpleasant, or unkind.4

   Defendants’ plan to chill Lowery was successful, because Lowery responded like

most employees would respond to a superior’s warnings, and just like Defendants

expected he would respond. As a result, evidence already exists which, viewed in the

light most favorable to Lowery with all reasonable inferences drawn, see Wease v.

Ocwen Loan Servicing, LLC, 915 F.3d 987, 992 (5th Cir. 2019), establishes that

UT’s motive was to chill Lowery’s protected speech.


3 Thus, Lowery’s use of the term “F***ing communists” in the Romanov tweet is

unquestionably protected speech. Cf. Dkt. 8-17 at 4.
4 The legal way for UT officials to respond would have been counter-speech. Instead

they acted behind the scenes to chill Lowery into silence.
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          B. UT threatened to take adverse employment actions against Lowery if
             he continued to speak freely
   If Lowery continued to speak freely, UT threatened to harm him in ways that

qualify as adverse employment actions under Fifth Circuit precedent. Contrary to

UT’s extreme claim, see Dkt. 132 at 14,5 UT cannot legally retaliate against

Lowery’s protected speech by removing him from his Salem position, damaging his

career prospects, “counseling” him in preparation for other discipline, and cutting

his salary by $20,000.

   “Adverse employment actions can include discharges, demotions, refusals to

hire, refusals to promote, and reprimands” but the Circuit has “not held this list to

be exclusive.” Sharp v. City of Hous., 164 F.3d 923, 933 & n.21 (5th Cir. 1999)

(emphasis added). A retaliatory act is actionable if it is “equivalent to a discharge,

demotion, refusal to hire, refusal to promote, or reprimand in its seriousness,

causing ‘some serious, objective, and tangible harm[.]’” Ellis v. Crawford, Civil

Action No. 3:03-CV-2416-D, 2005 U.S. Dist. LEXIS 3457, at *27-28 (N.D. Tex. Mar.

3, 2005) (quoting Serna v. City of San Antonio, 244 F.3d 479, 482-83 (5th Cir.

2001)). A wide variety of punishments may meet this “equivalency” standard. See,

e.g., Burnside v. Kaelin, 773 F.3d 624, 627 (5th Cir. 2014) (transfer can be

equivalent); Thompson v. City of Waco, 764 F.3d 500, 504 (5th Cir. 2014) (“change in

or loss of job responsibilities” can be equivalent); Alvarado v. Tex. Rangers, 492 F.3d

605, 614 (5th Cir. 2007) (denial of transfer can be equivalent).

   Lowery has offered evidence demonstrating that UT leaders threatened to

discipline him in ways equivalent to a demotion and a formal reprimand. Most



5 UT misrepresents this Court’s September 2023 opinion. See Dkt. 132 at 14. The

Court only held that “mere threat or potential of an ultimate employment decision
will not suffice” for retaliation. Dkt. 51 at 24. That is, an employer can threaten an
adverse employment action without the threat itself becoming an adverse action.
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importantly, UT leaders threatened to cancel or refuse to renew Lowery’s position

as a Senior Scholar at UT’s Salem Center, potentially costing him a $20,000 annual

stipend. Dkt. 8-2, ¶¶ 8-10; Dkt. 8-1, ¶¶ 3-5, 49, 61-62.

   Thus, Lowery’s case is not analogous to Dorsett or Harrington, contra Dkt. 132 at

14-15, for neither case concerned loss of pay, and loss of pay is always an adverse

action. Instead, those cases involved faculty complaining that their pay increases

were slightly smaller than expected. See Harrington v. Harris, 118 F.3d 359, 366

(5th Cir. 1997) (noting that the court “might reach a different conclusion” “[i]f

Plaintiffs had received no merit pay increase at all or . . . simply a token increase”);

Dorsett v. Bd. of Trs. for State Colls. & Univs., 940 F.2d 121, 123 (5th Cir. 1991).

   Lowery is also in danger of losing his position at Salem’s Policy Research Lab,

which would decrease his prestige and academic freedom, as well as deny him

opportunities to publish research that would advance his career. Dkt. 8-1, ¶¶ 3, 7,

62; see also Dkt. 132-2 (noting that Lowery supervises postdoctoral and

undergraduate fellows). Similarly, UT leaders threatened to remove Lowery’s friend

and research collaborator, Carlos Carvalho, as Salem’s Executive Director, which

would further damage Lowery’s ability to perform cutting-edge research. Dkt. 8-2,

¶¶ 8, 10; Dkt. 8-1, ¶¶ 7, 43, 62. Removal from the Salem Center is equivalent to a

demotion, for it entails loss of pay, fewer and less interesting job responsibilities,

loss of supervisory authority, worse career prospects, less use of Lowery’s skills and

experience, and less prestige.

   Additionally, Defendants sought to “counsel” Lowery and, at a minimum

acquiesced to, if not outright supported, his investigation by UT police in a way that

is equivalent in seriousness to a formal reprimand. See Dkt. 8-1, ¶¶ 52-57, 63. This

“counseling” served as a pre-disciplinary warning that harsh consequences would



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come later if Lowery did not alter his speech. See Dkt. 8-2, ¶¶ 6-8; Dkt. 8-1, ¶¶ 49,

60.

      Although Carvalho refused to “counsel” Lowery, he passed along the message,

Dkt. 8-2, ¶¶ 6, 11, and Titman did “talk to” Lowery about his supposedly “rude and

potentially dangerous” speech and described this conversation as part of his duty as

chair “to evaluate somebody . . . on my faculty” and “mak[e] suggestions on what

they are doing”, Ex. A at 212:19-213:22; Dkt. 8-1, ¶¶ 47-49. As chair, Titman played

a central role in Lowery’s performance reviews and decisions on pay increases. See

Dkt. 132-10. Only a fool would ignore these warnings.

      Moreover, Lowery has testified that, because of Titman’s counseling, Lowery

fears “loss of pay or other disciplinary consequences if [he] continued criticizing

GSLI and its events.” Dkt. 8-1, ¶ 49 (emphasis added). UT has “a process for

removing a tenured employee,” although Defendants have not yet triggered this

process against Lowery. Dkt. 132 at 16. But why would they? Lowery has self-

censored since late August 2022, so UT’s threats to “keep quiet or else” succeeded.

      Only two weeks before Lowery self-censored, however, a high-level official from

President Hartzell’s office sent Mills and Burris a complaint against Lowery for

their “review and handling” as a “personnel matter” about “whether Professor

Richard Lowery crossed any lines regarding ethics or compliance.” Ex. E; see also

Ex. A at 199:6-8 (Titman interpreting “personal action” to mean disciplinary action).

Lowery fears that UT’s “counseling” laid the groundwork for more severe discipline

that might bring “risk to [his] career,” perhaps even tenure removal. Dkt. 8-1, ¶¶

49, 60. Lowery, thus, shows that UT threatened him with punishments would

constitute adverse employment actions if carried out.




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          C. UT’s threats would chill a person of ordinary firmness
   Moreover, UT’s argument about adverse employment actions is a non sequitur,

because Lowery brings a chilled-speech claim, not a retaliation claim. The Keenan

test does not require that an adverse employment action was threatened. To prove

his chilled-speech claim, Lowery only must demonstrate that “the defendants’

actions caused [him] to suffer an injury that would chill a person of ordinary

firmness from continuing to engage in that activity.” Dkt. 51 at 25.

   Indeed, this Court has already held that Lowery suffered an objective chill if he

could prove that Mills and Burris truly made the statements to Carvalho that

Lowery alleges. See id. at 25-26 (concluding that the allegations in paragraphs 36,

39, and 43 of Lowery’s original complaint would satisfy the second Keenan element

if proven). Lowery has supplied evidence supporting all the allegations that this

Court previously held were sufficient. See, e.g., Ex. B at 159:8-162:10, 163:16-

164:20; 192:4-193:6, 207:17-208:24; Dkt. 8-2, ¶¶ 7-11; Ex. F; Ex. H. This genuine

issue of material fact defeats summary judgment.

   UT concedes that the Keenan test governs Lowery’s chilled-speech claim (indeed,

UT proposed that test) and any attempt by UT to back away from that test now

should be barred by judicial estoppel. See Dkt. 130 at 11-12; Dkt. 48 at 13; Dkt. 15

at 17. The Keenan test does not demand a retaliatory employment action. Rather,

Keenan set a baseline of First Amendment protection for all citizens, regardless of

whether they were employed by the government or not. See Dkt. 130 at 14-16.

   In Keenan, the Fifth Circuit borrowed a standard for chilled speech from the

Sixth and Tenth Circuits. 290 F.3d at 258. Those circuits expressly equate the

chilled-speech standard adopted in Keenan with the Supreme Court’s Burlington

Northern standard used in the Title VII context. See, e.g., Kubala v. Smith, 984 F.3d

1132, 1139 (6th Cir. 2021) (citing Burlington N. & Santa Fe Ry. v. White, 548 U.S.


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53, 68 (2006)); Benison v. Ross, 765 F.3d 649, 659 (6th Cir. 2014) (similar); Couch v.

Bd. of Trs. of the Mem’l Hosp., 587 F.3d 1223, 1238 (10th Cir. 2009) (similar).

Courts in the Fifth Circuit have also applied Burlington Northern to First

Amendment claims. See, e.g., Peyton v. City of Yazoo City, 764 F. Supp. 2d 831, 840

(S.D. Miss. 2011); Laredo Fraternal Order of Police v. City of Laredo, 2008 U.S. Dist.

LEXIS 19001, 2008 WL 678698 (S.D. Tex. Mar. 12, 2008).

   Burlington Northern “separated significant from trivial harms” by requiring

plaintiffs show that the challenged conduct “might have dissuaded a reasonable

worker from” protected activity. 548 U.S. at 68 (cleaned up). This language mirrors

the second element of the Keenan test. “This [Burlington Northern] standard is

analogous to” and “consonant with” the chilled-speech standard in both employment

and non-employment cases. Couch, 587 F.3d at 1238. When First Amendment

rights are at stake, “threats alone can constitute an adverse action if the threat is

capable of deterring a person of ordinary firmness from engaging in protected

conduct.” Hill v. Lappin, 630 F.3d 468, 475 (6th Cir. 2010).

   Indeed, the Fifth Circuit has recently affirmed a district court that found that a

professor stated a viable chilled-speech claim when university administrators

investigated the professor, removed him as editor-in-chief at a journal he created,

and left him unable to publish his research, even though that professor lost no

salary and remained a tenured faculty member. See Jackson v. Wright, 82 F.4th

362, 366, 369 (5th Cir. 2023). The district court had recognized that there “was no

unequivocal policy proscribing [the professor’s] intended conduct,” but found that

the administration’s “implicit policy” of creating a stagnant journal arguably

proscribed plaintiff’s intended speech. Jackson v. Wright, Civil Action No. 4:21-CV-

00033, 2022 U.S. Dist. LEXIS 8684, at *19-20 (E.D. Tex. Jan. 18, 2022). The

university never explicitly stated that the professor would be disciplined if he

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continued to express his views. Id. at *24-25. But the district court held that “[i]t is

the chilling effect on free speech that violates the First Amendment, and it is plain

that an implicit threat can chill as forcibly as an explicit threat.” Id. (cleaned up).

   Similarly, in Levin v. Harleston, the Second Circuit found that a university

president’s criticisms of a professor’s speech and suggestion that it might constitute

“conduct unbecoming” were sufficient to credibly chill speech, even in the absence of

an explicit threat of discipline. 966 F.2d 85, 89-90 (2nd Cir 1992). “It is not fatal

that Harleston never explicitly stated that disciplinary charges would be brought if

Levin continued to voice his views.” Id.; see also Cooksey v. Futrell, 721 F.3d 226,

236-37 (4th Cir. 2013) (blogger chilled when “told, in effect, that he would remain

under the watchful eye of [a] State Board”).

   Lowery was threatened with the loss of a valuable appointment at UT’s Salem

Center, which would have cost him $20,000 annually, ended his supervisory role

over Salem’s fellows, and hampered his research, to the detriment of his career

advancement. See Dkt. 8-2, ¶¶ 8-10; Dkt. 8-1, ¶¶ 3-5, 47-49, 61-62.

   Lowery was also investigated by UT police, “counseled,” and labelled as rude,

uncivil, and dangerous. See Dkt. 8-1, ¶¶ 49, 52-57, 60, 63; Ex. A at 136:4-137:15,

145:18-146:9. And Lowery—just like the professor in Jackson—has already lost a

valuable right that other UT faculty members have—the right to comment on public

affairs and UT-related matters. See, e.g., Dkt. 14-7; Ex. L; Ex. M.

   These threats and actions—both monetary and professional—would chill a

person of ordinary firmness just as they chilled Lowery.

                                      CONCLUSION
   This Court should deny Defendants’ motion for partial summary judgment. In

the alternative, this Court should defer ruling on UT’s motion until discovery in the

case is complete.

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    Respectfully submitted,                      Dated: May 31, 2024

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